                        UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

 DAWN COOPER,                                           )
                                                        )
        Plaintiff,                                      )
                                                        )
 v.                                                     )       No. 3:09-CV-485
                                                        )
 PENTAGROUP FINANCIAL, LLC and                          )       Jordan/Guyton
 MS. YOUNG,                                             )
                                                        )
        Defendants.                                     )

                                   STIPULATION OF DISMISSAL

        Plaintiff, Dawn Cooper, and Defendant, Pentagroup Financial, LLC, acting through their

 respective counsel of record, hereby stipulate that Plaintiff’s action against the named defendants in

 this case is hereby dismissed, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(ii), with each party

 to bear its own costs and fees.

        Respectfully submitted this 5th day of May, 2010.


 /s Alan C. Lee by JDP w/perm.                  /s Jerome D. Pinn
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                                                Young, Defendants




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